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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)

UNITED STATES OF AMERICA )
)

Vv. ) Criminal Action No. 19-158(RBW)

)

ANDRE DE MOYA, ANTHONY )
MERRITT, and VINCENT SLATER, )
)

Defendants. )

)

ORDER

In accordance with the oral rulings issued by the Court at the status conference held on
October 16, 2019, it is hereby

ORDERED that this case continues to be designated as a complex case. It is further

ORDERED that the time from the date of this Order until January 17, 2020, is excluded
under the Speedy Trial Act, in light of the government’s representations regarding the volume of
discovery and the nature of the allegations inthis matter. It is further

ORDERED that the parties shall appear before the Court for a status conference on
January 17, 2020, at 9:30 a.m.

SO ORDERED this (7Muay of October, 2019.

   

. WALTON
United States District Judge
